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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                     Chapter 11
In re:
                                                                     Case No. 17-12560 (JKS)
WOODBRIDGE GROUP OF COMPANIES, LLC,
et al.,1                                                             (Jointly Administered)
                                                                     Ref. Docket No. 4693
                                    Remaining Debtors.


                     ORDER SUSTAINING TRUST’S OBJECTION TO
                  PROOF OF CLAIM NO. 8980 FILED BY STACEY MAXTED

         Upon the objection (the “Objection”)2 filed by the Woodbridge Liquidation Trust (the

“Trust”), formed pursuant to the confirmed and effective First Amended Joint Chapter 11 Plan

of Liquidation of Woodbridge Group of Companies, LLC and its Affiliated Debtors [Dkt. No.

2397] (the “Plan”) in the jointly-administered chapter 11 bankruptcy cases (the “Chapter 11

Cases”) of Woodbridge Group of Companies, LLC and its affiliated debtors and debtors in

possession (collectively, the “Debtors”), seeking entry of an order, pursuant to section 502(d) of

the Bankruptcy Code, Bankruptcy Rules 3001, 3003, and 3007, and Local Rule 3007-2,

(i) disallowing and expunging Claim No. 8980 (the “Disputed Claim”) asserted by Stacey

Maxted (“Claimant”) and (ii) directing the Claims Agent to reflect the foregoing modifications in

the Claims Register; and upon consideration of the record of these Chapter 11 Cases, the RJN,

and the Jeremiassen Declaration; and it appearing that the Court has jurisdiction to consider the

Objection in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware dated February 29,


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  The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, California 91203.
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  Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the
Objection.


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2012; and it appearing that the Objection is a core matter pursuant to 28 U.S.C. § 157(b)(2) and

that the Court may enter a final order consistent with Article III of the United States

Constitution; and it appearing that venue of these Cases and of the Objection is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and it appearing that due and adequate notice of the Objection

has been given under the circumstances and that no other or further notice need be given; and

after due deliberation, and good and sufficient cause appearing therefor, it is hereby

                 ORDERED, ADJUDGED, and DECREED THAT:

        1.       The Objection is SUSTAINED as set forth herein.

        2.       The Disputed Claim is disallowed under Bankruptcy Code section 502(d),

because Claimant received preference payments under Bankruptcy Code section 547 and

fraudulent transfers under Bankruptcy Code sections 544 and 548, those payments are avoidable

under § 550, and Claimant has not repaid the amount of those avoidable payments, which

amount totals not less than $176,445.04.

        3.       The Disputed Claim may be reinstated upon the filing of evidence demonstrating

that Claimant has repaid to the Trust the amounts owed to the estate, totaling not less than

$176,445.04, on account of the aforementioned avoidable transfers that Claimant received

prepetition.

        4.       The Claims Agent is directed to modify the Claims Register to comport with the

relief granted by this Order.

        5.       Nothing in this Order shall be deemed (i) an admission as to the validity of any

claim, (ii) a waiver of the Trust’s rights to dispute any claim on any grounds, (iii) a promise or

requirement to pay any claim, (iv) an implication or admission that any claim is of a type

referenced or defined in the Objection, (v) an implication or admission that any contract or lease



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is executory or unexpired, as applicable, (vi) a waiver or limitation of any of the Trust’s rights

under the Bankruptcy Code or applicable law, (vii) a request or authorization to assume or reject

any agreement under Bankruptcy Code section 365, (viii) a waiver of any party’s rights to assert

that any other party is in breach or default of any agreement, or (ix) an implication or admission

that any contract or lease is integrated with any other contract or lease.

        6.       Notwithstanding any applicable provisions of the Bankruptcy Code, the

Bankruptcy Rules, or the Local Rules, this Order shall be effective immediately upon its entry.

        7.       The Trust is authorized to take all actions necessary or appropriate to effectuate

the relief granted pursuant to this Order in accordance with the Objection.

        8.       This Court shall retain jurisdiction and power with respect to all matters arising

from or related to the implementation or interpretation of this Order.




                                                             J. KATE STICKLES
       Dated: November 5th, 2021
                                                             UNITED STATES BANKRUPTCY JUDGE
       Wilmington, Delaware


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